Case 2:05-cv-02371-.]DB-dkv Document 30 Filed 08/16/05 Page 1 of 3 Page|D 31

v D.c.

IN THE UNITED sTATES DlsTRlCT CouRT F“ED F‘ -%

FOR THE WESTF:RN DISTRIC_T oF TENNESSE _
§snus \6 PM \. 53

 

WESTERN nlvisIoN
moses pfng
CoNsoLIDATED CONTAINER CLERK. U_§_ __j_ _§§;THQ%URT
COMPANY,LP, v\'¢®<,:i w t
Plaintiff,

)

)

)

)

) ORDER GRANTIN

) DEFENI)ANT’S MOTION TO

) FILE OVERLENGTH

) MEMORANDUM

WARREN UNILUBE, INC., )

) CIVIL ACTION No. 05-2371 BV
)
)
)
)

Defendant.

 

Before the Court is the unopposed Motion of Defendant Warren Unilube, lnc., f`or
Leave to File Overlength Meniorandum in support of its response to Plaintiff"s Motion
for Preliminary Injunetion. The Court hereby finds the motion is well taken and should
be granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECR]EED that Defendanl
is granted permission to file an overlength memorandum in support of its response to

Plaintiff"s Motion for Preliminary lnjunetion.

/

§ GE J. DANIEL BREEN
/
Date: <Zl/[(vb/V "

 

 

PLDG-lé¢i$} -27-41(}967-&'1
5 109719.1

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CV-02371 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

John S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Christina Hull Eikhoff
Alston & Bird LLP

One Atlantic Center

1201 West Peachtree Street
Atlanta, GA 30309--342

Steven M. Collins
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Benjamin N. Thompson

WYRICK ROBBINS YATES & PONTON7 LLP
4101 Lake Boone Trail

Ste. 300

Raleigh7 NC 27607

Christine F Mayhew

WYRICK ROBBINS YATES & PONTON
4101 Lake Boone Trail

Ste 300

Raliegh7 NC 27607

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Case 2:05-cv-02371-.]DB-dkv Document 30 Filed 08/16/05 Page 3 of 3 Page|D 33

Amy Pepke

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 3 8103--246

Honorable J. Breen
US DISTRICT COURT

